           Case 18-10926-amc                  Doc
                                               Filed 02/24/25 Entered 02/24/25 11:19:10                                      Desc Main
                                               Document
  «AddressBlock»Fill in this information to identify the case:
                                                               Page 1 of 8


  Debtor 1: Lorrie-Ann D. Thorne
  Debtor 2:
  (Spouse, if filing)
  United States Bankruptcy Court for the: Eastern District of Pennsylvania
  Case number: 18-10926


  Official Form 410S1                                                                                                                   Chapter 13

 Notice of Mortgage Payment Change                                                                                                            12/15


If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of Creditor: Bank Of America, N.A. ,                                    Court claim no. (if known): 1-1

 Last four digits of any number                                               Date of payment change:            04/01/2025
 you use to identify the debtor’s           7318
                                                                              Must be at least 21 days after
 account:
                                                                              date of this notice
                                                                                                                 $1,018.58
                                                                              New total payment:                 Principal, interest and escrow, if any
 Part 1: Escrow Account Payment Adjustment


 Will there be a change in the debtor’s escrow account payment?         Yes

 Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe the basis for the change.
 If a statement is not attached, explain why:

                         Current Escrow Payment:     $324.94                                        New Escrow Payment:        $319.44

 Part 2: Mortgage Payment Adjustment


 Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate note? No

 Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law.
 If a notice is not attached, explain why:

                                Current Interest Rate:                                                       New Interest Rate:

                        Current principal and interest payment:                                   New principal and interest payment:

 Part 3: Other Payment Change


 Will there be a change in the debtor’s mortgage payment for a reason not listed above? No

 Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
 (Court approval may be required before the payment change can take effect.)

 Reason for change:

                             Current mortgage payment:                                                  New mortgage payment:
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                                                         Document      Page 2 of 8
Debtor 1: Lorrie-Ann D. Thorne                                                  Case number (if known): 18-10926




Part 4: Sign Here


The person completing the Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number if
Different from the notice address listed on the proof of claim to which this Supplement applies.

Check the appropriate box:

     I am the creditor        X     I am the creditor’s authorized agent

                                  (Attach copy of Power of Attorney, if any.)

I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my knowledge, information and
reasonable belief.



/s/ Vincent Padovano                                                            Date: Feb 24, 2025
Signature

Print:   Vincent Padovano                                                       Title: Authorized Agent


Company:     Liepold, Harrison & Associates


Address:    1425 Greenway Drive, Suite 250
            Irving, TX 75038

Contact Phone:                                                                  Email:   PCNInquiries@lha-law.com
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                                UNITED STATES BANKRUPTCY COURT
                                  Eastern DISTRICT OF Pennsylvania



 In Re:                                                                   Case No. 18-10926

 Lorrie-Ann D. Thorne

                                                                          Chapter 13

                Debtor(s)

                                      CERTIFICATE OF SERVICE
I hereby certify that on 02/24/2025, a true and correct copy of the foregoing Notice of Mortgage Payment
Change was served upon all interested parties pursuant to the Court’s CM/ECF system and/or by First Class
U.S. Mail.



                                                   By: /s/ Vincent Padovano

                                                    Authorized Agent for Creditor
                                                    Liepold,Harrison and Associates
                                                    1425 Greenway Drive, Suite 250
                                                    Irving, TX 75038
       Case 18-10926-amc           Doc   Filed 02/24/25 Entered 02/24/25 11:19:10   Desc Main
                                         Document      Page 4 of 8
Debtor
Lorrie-Ann D. Thorne
6717 Haverford Avenue
Philadelphia, PA 19151



,

Debtor’s Counsel
Michael A. Cibik
1500 Walnut Street Suite 900
Philadelphia, PA 19102

Trustee
Scott F. Waterman
2901 St. Lawrence Ave. Suite 100
Reading, PA 19606

U.S. Trustee
United States Trustee
Robert N.C. Nix Federal Building Suite 320
Philadelphia, PA 19107
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                                                                                                                                       9805-02-b1-0097622-0001-0285076
                                                             Document      Page 5 of 8
                                                  1600 South Douglass Road                   Your Escrow Statement
                                                  Suites 110 & 200-A
                                                  Anaheim, CA 92806                           Property Address: 6717 HAVERFORD DR
                                                                                                            PHILADELPHIA, PA 19151
                                                                                                            Statement Date: 01/24/25
 Important information inside!                                                                             Loan number:

                                                                                                                     Questions?
0097622                 SP         9805      -C02-P00000-I
                                                                                                                   1-800-561-4567
                                                                                                     www.CarringtonMortgage.com
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                       6717 HAVERFORD AVE
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                       PHILADELPHIA    PA 19151




 Thank you for being the best part of our Carrington family.
 You are receiving this statement because we have completed your escrow analysis review.

 Your escrow account is an account that we manage on your behalf to pay for your insurance
 and taxes. For more information and resources regarding escrow, login to your Carrington Account
 and select “Escrow Summary” under “Customer Request” on the left menu.




 YOUR NEW PAYMENT:                                   EFFECTIVE 04/01/25
                                              CURRENT                NEW                              ANALYSIS SUMMARY
                                              PAYMENT             PAYMENT     CHANGE

 Principal & interest                             $699.14           $699.14    --                     You have a shortage of:
 Escrow payment                                   $247.53          $270.24          $22.71
                                                                                                             $590.51
 Shortage payment                                  $77.41            $49.20     -$28.21
                                                                                                       $590.51 / 12 = $49.20
 Total                                        $1,024.08           $1,018.58     -$5.50

Your escrow account has a shortage due to an increase in your taxes and or insurance. The shortage
amount will be spread over the next 12 months and added to your monthly payment as shown above.

Your escrow payment over the next 12 months:
We estimate your total taxes and/or insurance payments to be $3,242.93 for the next 12 months. Here is
how we calculated your new monthy escrow payment:
Home insurance                                               $2,134.28              Total escrow                           $3,242.93
City tax                                                     $1,108.65              Divided by 12 months                          12
Total escrow                                                 $3,242.93              New monthly escrow payment               $270.24

Any changes to your taxes and insurance are determined by your taxing authorities and insurance
providers, not Carrington Mortgage Services, LLC.


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                                                                                                                                    9805-02-b1-0097622-0001-0285076
                                        Document      Page 6 of 8             Statement Date: 01/24/25
                                                                                       Loan number:



PROJECTED ESCROW ACTIVITY 04/25 – 03/26
                PAYMENT TO        ESTIMATED                                  PROJECTED              REQUIRED
DATE                                        DESCRIPTION
                   ESCROW     DISBURSEMENT                              ESCROW BALANCE        ESCROW BALANCE
                                                   BEGINNING BALANCE:             -$49.98             $540.53
04/25               $270.24         -                                              $220.26              $810.77
05/25               $270.24         -                                             $490.50             $1,081.01
06/25               $270.24         -                                             $760.74             $1,351.25
07/25               $270.24         -                                            $1,030.98            $1,621.49
08/25               $270.24         -                                             $1,301.22           $1,891.73
09/25               $270.24         -                                             $1,571.46           $2,161.97
10/25               $270.24         -                                            $1,841.70            $2,432.21
11/25               $270.24         -                                             $2,111.94          $2,702.45
12/25               $270.24         -                                            $2,382.18           $2,972.69
01/26               $270.24         -                                            $2,652.42           $3,242.93
02/26               $270.24        $2,134.28 Home insurance                       $788.38            $1,378.89      1010101010101010101
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03/26               $270.24        $1,108.65 City tax                              -$50.03             $540.48
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    Lowest Projected           Lowest Projected Balance = the lowest projected point over your 12 month
     Balance (03/26)           analysis period. This number represents the running balance in your escrow
                               account estimated by your monthly payments to escrow minus any tax and
          -$50.03              insurance disbursements made on your behalf.


            –

    Minimum Amount             Minimum Amount Required = two months of escrow payments, excluding
        Required               mortgage insurance, to account for any tax and insurance increases. This
                               amount is regulated by the Real Estate Settlement Procedures Act (RESPA),
          $540.48              your mortgage contract, or state law.



            =

        Escrow Shortage         Escrow Shortage Amount = the difference between your lowest projected
            Amount              balance and the minimum amount required determines if there is a shortage
          $590.51               or surplus in your escrow account




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                                                                                                                                               9805-02-b1-0097622-0002-0285077
                                                     Document      Page 7 of 8             Statement Date: 01/24/25
                                                                                                         Loan number:




ESCROW ACCOUNT HISTORY 04/24 – 03/25
        PAYMENTS TO ESCROW                                 PAYMENTS FROM ESCROW                                  ESCROW BALANCE

Date      Projected           Actual    Projected    Description                Actual Description              Projected           Actual
                                                                                      BEGINNING BALANCE:          $495.13      -$ 1,768.08
04/24        $247.53 *       $637.05         --                                   -                               $742.66         -$1,131.03
05/24        $247.53 *          -            --                                   -                                $990.19       -$1,131.03
06/24        $247.53 *          -            --                                   -                              $1,237.72       -$1,131.03
07/24        $247.53 *       $212.35         --                                   -                              $1,485.25        -$918.68
08/24        $247.53 *       $862.23         --                                   -                              $1,732.78         -$56.45
09/24        $247.53 *          -            --                                   -                               $1,980.31        -$56.45
10/24        $247.53 *       $974.82         --                                   -                              $2,227.84         $918.37
11/24        $247.53 *       $324.94         --                                   -                              $2,475.37        $1,243.31
12/24        $247.53 *       $649.88         --                                   -                              $2,722.90        $1,893.19
01/25        $247.53 *       $324.94         --                                   -                              $2,970.43        $2,218.13
02/25        $247.53            -        $1,861.79   Home insurance               -                               $1,356.17       $2,218.13
03/25        $247.53            -       $1,108.64    City tax                     -                               $495.06         $2,218.13
Total      $2,970.36      $3,986.21     $2,970.43                                $0.00

An asterisk (*) marks any difference from what was projected in either the amount or date.


Anticipated escrow payments up to escrow analysis effective date:
01/25              $324.94
02/25              $324.94
03/25              $324.94


Anticipated escrow disbursements up to escrow analysis effective date:
02/25             $2,134.28 Home insurance
03/25              $1,108.65 City tax


                             For more information and resources regarding escrow, login to your Carrington Account and select
                             “Escrow Summary” under “Customer Request” on the left menu.

                             You can also check out our www.CarringtonMortgage.com/learningcenter and search “Escrow” for
                             additional resources.

                             If you prefer to speak with someone, please contact our customer service team at 1-800-561-4567.




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ADDITIONAL INFORMATION                                                     SCRA DISCLOSURE-
                                                                           MILITARY PERSONNEL/SERVICEMEMBERS
VERBAL INQUIRIES & COMPLAINTS
                                                                           If you or your spouse is a member of the military, please contact
For verbal inquiries and complaints about your mortgage loan,
                                                                           us immediately. The federal Servicemembers Civil Relief Act and
please contact the CUSTOMER SERVICE DEPARTMENT for Carrington
                                                                           comparable state laws afford significant protections and benefits
Mortgage Services, LLC, by calling 1-800-561-4567. The CUSTOMER
SERVICE DEPARTMENT for Carrington Mortgage Services, LLC is toll           to eligible military service personnel, including protections from
free and you may call from 8:00 a.m. to 9:00 p.m. Eastern Time, Monday     foreclosure as well as interest rate relief. For additional information
through Friday. You may also visit our website at                          and to determine eligibility please contact our Military Assistance
www.CarringtonMortgage.com.                                                Team toll free at 1-888-267-5474.

                                                                           NOTICES OF ERROR AND INFORMATION REQUESTS, QUALIFIED
IMPORTANT BANKRUPTCY NOTICE
                                                                           WRITTEN REQUESTS (QWR)
If you have been discharged from personal liability on the mortgage
                                                                           Written complaints and inquiries classified as Notices of Error and
because of bankruptcy proceedings and have not reaffirmed
                                                                           Information Requests or QWRs must be submitted to Carrington
the mortgage, or if you are the subject of a pending bankruptcy            Mortgage Services, LLC by fax to 1-800-486-5134, or in writing to
proceeding, this letter is not an attempt to collect a debt from you but   Carrington Mortgage Services, LLC, and Attention: Customer Service,
                                                                                                                                                         1010101010101010101
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merely provides informational notice regarding the status of the loan.
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                                                                           P.O. Box 5001, Westfield, IN 46074. Please include your loan number on
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If you are represented by an attorney with respect to your mortgage,
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                                                                           all pages of the correspondence. You have the right to request
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please forward this document to your attorney.                             documents we relied upon in reaching our determination. You may
                                                                           request such documents or receive further assistance by contacting
CREDIT REPORTING AND DIRECT DISPUTES
                                                                           the Customer Service Department for Carrington Mortgage Services,
We may report information about your account to credit bureaus.
                                                                           LLC toll free at 1-800-561-4567, Monday through Friday, 8:00 a.m. to 9:00
Late payments, missed payments, or other defaults on your account
                                                                           p.m. Eastern Time. You may also visit our website at
may be reflected in your credit report. As required by law, you are
                                                                           www.CarringtonMortgage.com.
hereby notified that a negative credit report reflecting on your credit
record may be submitted to a credit reporting agency if you fail
to fulfill the terms of your credit obligations. If you have concerns
regarding the accuracy of any information contained in a consumer
report pertaining to this account, you may send a direct dispute
to Carrington Mortgage Services, LLC by fax to 1-800-486-5134 or in
writing to Carrington Mortgage Services, LLC, and Attention:Customer
Service, P.O. Box 5001, Westfield, IN 46074. Please include your loan
number on all pages of the correspondence.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose
of collecting a debt and any information obtained will be used for
that purpose. This notice is required by the provisions of the Fair Debt
Collection Practices Act and does not imply that we are attempting to
collect money from anyone who has discharged the debt under the
bankruptcy laws of the United States.

HUD COUNSELOR INFORMATION
If you would like counseling or assistance, you may obtain a list
of HUD-approved homeownership counselors or counseling
organizations in your area by calling the HUD nationwide toll-free
telephone number at 1-800-569-4287 or toll-free TTY 1-800-877-8339,
or by going to http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You
can also contact the CFPB at 1-855-411-2372, or by going to www.
consumerfinance.gov/find-a-housing-counselor.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from
discriminating against credit applicants on the basis of race, color,
religion, national origin, sex, marital status, or age (provided the
applicant has the capacity to enter into a binding contract); because
all or part of the applicant’s income derives from any public assistance
program; or because the applicant has, in good faith, exercised any
right under the Consumer Credit Protection Act. The Federal Agency
that administers Carrington Mortgage Services, LLC’s compliance with
this law is the Federal Trade Commission. Equal Credit Opportunity.
Washington, DC 20580.




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